            Case 1:16-vv-00374-JFM Document 9 Filed 05/06/16 Page 1 of 2




         In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                             No. 16-374V
                                         Filed: April 4, 2016
                                         Not to be Published


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                        *
LARRY GORDON - 53405    *
                        *
     Petitioner,        *
                        *                                     Dismissal; Failure to State a Claim
             v.         *
                        *
SECRETARY OF HEALTH AND *
HUMAN SERVICES,         *
                        *
     Respondent.        *
                        *
*************************



                                 DECISION DISMISSING PETITION

HASTINGS, Special Master

        On March 24, 2016, Larry Gordon filed a Petition for Vaccine Compensation in the
National Vaccine Injury Compensation Program (“the Program”).1 Mr. Gordon alleges that he
suffered various injuries on October 28, 2015, because a dye was administered to him via
injection during a magnetic resonance imaging test (“MRI”). The information in the record,
however, does not show entitlement to an award under the Program.

        A Vaccine Program petition may be dismissed for failure to state a claim, pursuant to
RCFC 12(b)(6). That rule requires a petitioner to provide “a short and plain statement of the
claim, which shows that the petitioner is entitled to relief.” Totes–Isotoner Corp. v. United
States, 594 F3d 1346 (Fed.Cir. 2010), (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555
(2007); Scanlon v. HHS, No. 13–219V, 2013 WL 5755061 (Fed.Cl.Spec.Mstr. Sept. 27, 2013)
aff’d, 114 Fed.Cl. 135 (Fed.Cl. 2013); see also Vaccine Rule 2(c)(1).



1
  The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100
Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-10 et seq. (hereinafter “Vaccine Act” or “the Act”). Hereafter,
individual section references will be to 42 U.S.C. § 300aa of the Act.
          Case 1:16-vv-00374-JFM Document 9 Filed 05/06/16 Page 2 of 2



         To be eligible for compensation under the Vaccine Act, a petitioner must demonstrate
that he “received a vaccine set forth in the Vaccine Injury Table.” '300 aa-11(c)(1)(A). Further,
a petitioner must demonstrate that he sustained an injury caused by a vaccine covered by the
Vaccine Act. '300 aa-11(c)(1)(C). However, Mr. Gordon has not stated a claim that he received
a vaccination set forth in the Vaccine Injury Table, or that a vaccine caused his injuries. The dye
that he says was injected into him, plainly was not a vaccine at all, much less a vaccine covered
by the Program. Thus, Mr. Gordon’s petition fails to state a claim upon which relief may be
granted. Accordingly, his petition is DISMISSED. The Clerk shall enter judgment accordingly.

IT IS SO ORDERED.


                                              ________________________________
                                                    George L. Hastings, Jr.
                                                    Special Master
